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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

  Mahmoud KHALIL,                                  Case No. 2:25-cv-01963-MEF

     Petitioner,                                   DECLARATION IN SUPPORT OF
                                                   MOTION FOR PRO HAC VICE
         v.                                        ADMISSION  OF  SAMAH    SISAY
                                                   PURSUANT TO LOCAL CIVIL RULE
  Donald J. TRUMP, et al.,                         101(C)

     Respondents.

 I, Baher Azmy, pursuant to 28 U.S.C. § 1746, do hereby declare as follows:

        1.      I am an attorney-at-law of the State of New Jersey and Legal Director of the legal

 non-profit the Center for Constitutional Rights. I submit this Declaration in support of the Motion

 of Samah Sisay of the Center for Constitutional Rights for admission to the Bar of this Court pro

 hac vice for the purpose of acting as counsel to the Petitioner. I am familiar with the facts and

 information set forth herein.

        2.      I am a member in good standing of the following bars:

                New Jersey State Bar: Admitted 1997
                New Jersey Board of Bar Examiners
                Richard J. Hughes Justice Complex
                25 W. Market Street, 8th Floor, North Wing
                Trenton, NJ 08611

                New York State Bar: Admitted 1997
                Appellate Division, First Department
                27 Madison Avenue
                New York, NY 10010

                U.S. Supreme Court: Admitted 2007
                Clerk, Supreme Court of the U.S.
                ATTN: Admissions Office
                One First Street, N.E.
                Washington, DC 20543

                District of New Jersey: Admitted 1999
                Martin Luther King Building & U.S. Courthouse
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               50 Walnut Street, Room 4015
               Newark, NJ 07101

               Southern District of New York: Admitted 1998
               Daniel Patrick Moynihan U.S. Courthouse
               500 Pearl Street
               New York, NY 10007

               Eastern District of New York: Admitted 1998
               United States District Court for the New York Eastern District
               225 Cadman Plaza East
               Brooklyn, NY 11201

               U.S. Court of Appeals for the Third Circuit: Admitted 1997
               21400 United States Courthouse
               601 Market Street
               Philadelphia, PA 19106-1790

               U.S. Court of Appeals for the District of Columbia Circuit: Admitted 2006
               E. Barrett Prettyman U.S. Courthouse and William B. Bryant Annex
               333 Constitution Avenue, N.W.
               Washington, DC 20001-2866

               U.S. Court of Appeals for the Fourth Circuit: Admitted 2011
               Lewis F. Powell, Jr. United States Courthouse Annex
               1100 East Main Street, Suite 501
               Richmond, VA 23219-3517

               U.S. Court of Appeals for the Second Circuit: Admitted 2013
               Thurgood Marshall U.S. Courthouse
               40 Foley Square
               New York, NY 10007

               U.S. Court of Appeals for the Ninth Circuit: Admitted 2015
               P.O. Box 193939
               San Francisco, CA 94119-3939
               James R. Browning Courthouse
               95 Seventh Street
               San Francisco, CA 94103

        3.     Samah Sisay will be associated with me in the pursuit of this matter. I will be

 responsible for the conduct of Samah Sisay and for the case. I, or another lawyer who is a member




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 in good standing of the New Jersey Bar and the Bar of this Court, will sign all pleadings, briefs,

 and other papers filed with the Court.

        4.      I, or another lawyer who is a member in good standing of the New Jersey Bar and

 the Bar of this Court, will make all court appearances.

        5.      I have advised Samah Sisay of the Rules of the United States District Court for the

 District of New Jersey, including, but not limited to the provisions of L. Civ. R. 1031, Judicial

 Ethics and Professional Responsibility; L. Civ. R. 101.1(c), Admission of Attorneys: Appearance

 Pro Hac Vice; Local Counsel; and L. Civ. R. 104.1, Discipline of Attorneys. I will ensure that

 Samah Sisay complies with L. Civ. R. 101.1(c).

 I declare under penalty of perjury that the foregoing is true and correct to the best of my personal

 knowledge.

 Dated: March 20, 2025                         Respectfully Submitted,
 New York, NY

                                               /s/ Baher Azmy
                                               Baher Azmy
                                               Center for Constitutional Rights
                                               666 Broadway, 7th Floor
                                               New York, NY 10012
                                               (212) 614-6427
                                               bazmy@ccrjustice.org

                                               Counsel for Petitioner




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